Case 1:16-cv-23775-FAM Document 259 Entered on FLSD Docket 03/16/2018 Page 1 of 1



                         UNITED STATES DISTRICT COURT FOR THE
                             SOU TH ERN D ISTRICT OF FLO RIDA
                                       M iam iDivision

                             CaseNum ber:16-23775-C1V-M 0% N0

  ALYD A R .CH IM EN E,

                Plaintiff,


  ROY AL CA RIBBEAN CRU ISES LTD .rM C
  TOURS,GRUPO PALM AS,S.A .,CARIBE
  SKY CAN O PY TOU R,

                D efendants.

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                       D ENY IN G A LL PEN D IN G M O TIO N S A S M O O T

         THIS CAUSE camebeforetheCourtupon JointStipulation forDismissalwith Prejudice

  (D.E.258),filedonM arch5.2018.
         THE COURT hasconsidcred thenoticeandthepertinentportionsoftherecord,and is

  otherw ise fully advised in the prem ises. ltis

         ADJUDGED thatthisCauseisDISM ISSED with prejudice,with each party bearingits
  own feesandcosts.Fed.R.Civ.P.41(a)(1)(A)(ii). Further,a11pending motionsareDENIED

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            thleavetorenewifappropriate.
            E A xD ORD ERED in cham bers atM iam i
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                                                    FEDER       A.             NO
                                                    UNITE STA:ESDISTRICT JUDGE

   Copiesfurnished to:

   Counselofrecord
